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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                               WESTERN DIVISION


 STATE OF KANSAS, et al.,

                               Plaintiffs,            Case No. 24-cv-150-DMT-CRH

                v.

UNITED STATES OF AMERICA, et al.,

                               Defendants.



    JOINT MOTION FOR ENTRY OF PROPOSED BRIEFING SCHEDULE AND
                    EXTENSION OF PAGE LIMITS
       The parties respectfully move the Court to enter the proposed briefing schedule and

page limitations set forth below. In support of the requested relief, the parties state as follows:

       1.      On August 8, 2024, Plaintiffs filed this suit challenging the Centers for

Medicare and Medicaid Services’ final rule regarding the eligibility of Deferred Action for

Childhood Arrivals (DACA) recipients for a Qualified Health Plan through an Affordable

Care Act exchange and various subsidies. See ECF No. 1; 89 Fed. Reg. 39392 (May 8, 2024).

That rule becomes effective November 1, 2024. 89 Fed. Reg. at 39392.

       2.      On August 28, Plaintiffs amended their complaint. ECF No. 27. Two days later

Plaintiffs moved for a stay of the final rule and preliminary injunction. ECF No. 35.

       3.      Plaintiffs served Defendants via certified mail, and on September 3, the United

States Attorney’s Office for the District of North Dakota received the amended complaint and

the motion. Under Local Rule 7.1(B), Defendants’ opposition to the motion is due September

17, 2024. Plaintiffs’ reply would then be due seven days later on September 24.

       4.      The parties have conferred and agreed to a briefing schedule with modest

extensions of page limits set forth below that they respectfully submit will help facilitate the
Court’s resolution of Plaintiffs’ motion before the final rule takes effect on November 1, 2024.
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The extension of the deadlines and page limits will ensure that both parties have an

opportunity to address the various issues and arguments adequately. The proposed schedule

and extensions are as follows:


                     Brief                         Date                  Page Limit

 Defendants’ Opposition                   September 25, 2024        30 pages

 Plaintiffs’ Reply                        October 9, 2024           15 pages

       A proposed order is attached.

                                           Respectfully submitted,

KRIS W. KOBACH                             BRIAN M. BOYNTON
Attorney General of Kansas                 Principal Deputy Assistant Attorney General

/s/ Abhishek S. Kambli                     ERIC B. BECKENHAUER
Abhishek S. Kambli, Kan. SC No. 29788      Assistant Branch Director
Deputy Attorney General                    Federal Programs Branch
Kansas Office of the Attorney General
Topeka, Kansas 66612-1597                  /s/ Christopher A. Eiswerth
Phone: (785) 296-7109                      Christopher A. Eiswerth (DC Bar No. 1029490)
Email: abhishek.kambli@ag.ks.gov           Trial Attorney
                                           United States Department of Justice
Counsel for the State of Kansas            Civil Division, Federal Programs Branch
                                           1100 L Street, NW
                                           Washington, DC
                                           Tel: (202) 305-0568
                                           Email: christopher.a.eiswerth@usdoj.gov

                                           Counsel for Defendants
